          Case 2:19-cr-00005-JPJ-PMS Document 77 Filed 02/12/20 Page 1 of 8 Pageid#: 302




                                          UNITED STATESDISTRICT COURT                                                        FE8 121û2
                                                     W estern D istrictofV irginia                                       JtJt!AC. .D'9 D RK
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          IJNITED STATESOF AM ERICA                                   JUDGM ENT IN A CRIMI
                                                                                         NALCAV'.
                                                                                                                                  cE'
                              V.                                      caseNumber: DvAw 219CR000005-001
          MITCHELLxousyx-
                        rxfcuùnAs                                     casexumber:
                                                                      U SM N um ber: 22629-084

                                                                      BrianJ.Beck AFPD
                                                                      Defendant'sAttorney                                                h
THE DEFENDANT'
             .
I
D pleadedguiltytocountts)
                     /'                                                                                                                      .

Z pleadednolocontenderetocountls)                                                                                    .
   whichwasacceptedby thecourt.                                                             g       .
Z wasfoundguiltyoncountts)                One(1),Two(2),Three(3)andFotlr(4)oftheIndictment
  .
    aftera. pleq'of
                  .
                    no tguil
                     w .   1
                            ty,' '

The'
   defendant.isadjudicated:guiltyofthcscoflknses:-..:
  Title & Section                    Nature ofO fferise                                                     öffenseEnded         Count
18U.S.C.j876(c)          M ailingThreateningCom punicationstoaFederalJudge                                    11/5/2018            1

l8U.S.C.j876(c)          M ailipgThreatçqingComm iznicationstoaFederalJudge                                   11/j/;0J8
                                                                                                             d. 1
                                                                                                                ''
18U.S.C.jll5(a)(1)(B), ThreatenaFederalJudgetoRetaliateo!lAccount'ofPerfoe anceof                             11/5/2018            3
18U.S.C.jll5(b)(4)        om cialDuties.'

       Thedefendantissentencedasprovidedinpages2through                     8      ofthisjudgment.Tllesentenceisimposedpursuantto
the Sentencing Reform Actof1984.
Z Thedefendanthasbeenfoundnotguiltyoncountts)
Z Countts)                                  EEIis II
                                                   ZIaredismissedonthemotionoftheUnitedStates.
     iliItisorderedthatthedefendptmustnotifytheUnltedStatesattorpeyforthisdiltrjctwithin30daysofpnychangeofname,residepce.
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                                                                                                                 yes
                                                                                                                   pmd.Iforderedtopayiestitutlon, .
                                                                                                                     .


                                                                      February 12,2020
                                                                      DateofImpositïonofJudgment                             .


                                                                      Signatu fJudge



                                                                      JamesP.Jones,United StatesDistrictJudge
                                                                     NameandTi
                                                                             tleofJudge                 '    '


                                                                     Date
                                                                                2 12 '7 5                                .
          Case 2:19-cr-00005-JPJ-PMS Document 77 Filed 02/12/20 Page 2 of 8 Pageid#: 303

A0 2458
    '
            (Rey.99/19-VâWAddili
            .                  onst
                                  l5/l7li#mentinaCrimi
                                                     nalCase
     .      SheetIA '.
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                                                   .
                                                       .                           .   Judgnaent-page   2   of       8
DEFENDANT:  MITCHELLNORRERTNICHULAS
CASEVUMBEA:DVAW219CR000005-001

                                     ADDITION AI,COUNTS OF CONW CTIO N
Title& Section                  NaiureojOffense                       OffenseEnded                          C oant
l8U.S.C.j1l5(a)(1)(B), ThreatenaFederalJudgetàRetaliateonAccountofPerfonnanceof.          11/5/2018
18U.S.C.jl15(174)        om ciàlDuties                 '                                    '
                     Case 2:19-cr-00005-JPJ-PMS Document 77 Filed 02/12/20 Page 3 of 8 Pageid#: 304

AO2458'' (Rev.09/19-VAW Addi
                           tions05/17)JudgmtntinCriminal
                        Cas
                          .e Sheet2 -I
                                     m nrisomnent-                                                                  .                 .                 '
                                                                                                                                                                 '
            .                                               .                                            .                     ..                                    .
                                                                     .
                                                                                                                                    Judgment-Page   3       of           8
 DEFENDANT:                         M ITCHEEL NORBERT NICHOLAS                                                                                                   '
 CASE NUM BER:DVAW219CR0000ô5-001
                '

                                                                                          IM PRISO NM ENT
                    Thedefendantishereby committedtothecustodyoftheFederalBureau ofPrisonstobeimprisonedforatotalterm oft
                                                                 Z                        .                                .


      Seventptwo(72)months,consistingofthesameterm one>chcounttonm conctr ently.Thistérm shallnm consecutivelytothe
      dçfendant'scurrentsentenceimposedintlleSuperiorCourtoftheV irginIslapdsSt.Thom as,VIDocketNo.ST-05-CR0000334



      Z ThecourtmakesthefollowingrecommendationstotheBureauofPrisons:



      XX .ThedefendantisremandedtothecustodyoftheUnitedState'
       .                '       '                       '
                                                            sMarshal..
       .'                                 .       , .                        '


      r-I Thexdëtknkantshall'surrendef.
                                      t:theUnitedstatesMarshal.foqthijr
                                                                      district:'
 '     '                                                    ''
 ..
      ' .
       .            N .at            ''                 . Z a.ni. I-Ip.m .
                                                                         ,                          On
                    &       asnotilied bythçUnited StatesMarshal.
      U1 Thedefendantshall.surrenderforserviceofsentenceattheinstitution designatedbytheBureau ofPrisons:'
                                                                                                         .



                    I--I before       otl
                    I-I asnotisedbytheUnitedstatesMarshal.
                    r-l ?.
                         snotifiedbytheProbatioporPretrialServicesOffice.


                                                                                              RETURN
 Ihaveexecutedthisjtldgmentasfollows:



                                                                                      '
                    Defendantdeliveredon                                 .                                     to                          .

 a                                                                               ,withacertifiedcopyofthisjudgment.
                                     ..       :



                                                                                                                           UNITEDSTATESM RSHAL

                                                                                                  By
                                                                                                                        DEPUTY LA ITED ITATESMARSHAL
            Case 2:19-cr-00005-JPJ-PMS Document 77 Filed 02/12/20 Page 4 of 8 Pageid#: 305


AO2458 (Rev.09/19-VAW Addi
                         tions05/17)Jud/nentlnaCriminalCase
             Shtet3- 'SupervisedRelease   .                                     .   .     .


                                                   '
                          .                                                                   Judm ent-pqge   4   of       8
DEFENbANT:                MITCHELLNURBERTM CHOLAS
CASE NUM BER:DVAW 219CR000005-001
                                                   SUPERNISED RELEA SE
Uponreleasefrom imprisonment,youw illbyonsupervisedreleaseforaterm of:
Three(3)years,consistingofthesameterm oneachcotmttonm concurrently.




                                                G NPATORy coxollqoxs
     Youmustpo!commitanotherfederal,stateorlocalcrime.
     I
     Z Youmujtmrkerestimtioninpccordancewithsections'3663and3663A,oranyotherstatuteauthorizingasentenceof'
     ' restitution.(cheqkfapplicabl
        .
             .
                                  el''. ' . ''                                       '                               '
    Y:u mustnotunlawfully possesjacontrolledsubstapce.
4. xYou mustrefrain from anythnlalfuluseofacontrolled substancc.You mustsubmittoone'   drùg test,w ithin 15days'ofrcleasefrom
    imprisonmentanilatIeasttwoperioditfdrugteststhereafter,as''
                                                              detellninùdbythecourt.                               '
                 E*(1'
                     Theabovydr
                              'ugtestingconditionissuspended,basedonthecburt'sdeter'
                                                                                   minationthatyou
                   posealow.
                           rilkofftituresubstanceabuse.(checkêapplicable)   '
     I
     XIYöumpstcooperateihthecöllectionofDNA asdirectedbythçprobationoffkif.(checkêapplicable)
     EEIYôumustcomplywiththerequiremehtsoftheSexOffenderRegistrationand.
                                                                       Notification.Act(34U.S.C.j20901,etseq.4as
            directedbytheprobation oflicer,theBureatlofPrisons,oranystatesexoffenderregistrationagency inwhichyoureside,work,
            areastudent,érwereconviqtedofaqualifpngoffense.(checkêapplicabl
                                                                          e)
     EEIYoumustpal-
                  ticipateinaitapprovedpro'gram fordomesticviolence.(checit/plwlfctzNe?
Youmustcomjlywiththestandardconditionsthat.havrbeenadoptedbythiscoul'
                                                                    taswellasFithanyotherconditionsontheattached
page.                                                        '       '                        .                        '
           Case 2:19-cr-00005-JPJ-PMS Document 77 Filed 02/12/20 Page 5 of 8 Pageid#: 306


AO.24'58    (Rev.09/19-VAW Addifions05/17)VdgmlfltinaCriminalCase
            Sheet3A - Supel-visedRtlemse .
               '      '
  .                       .                                                                 Judgnwnt-page    5    Of       8
 DEFENDANT:               MITCHELLNOM ERT NICHOLAS
 CASENUMBEk:DVAW219CR000005-001
                                    STANDARD CONDITION# OF SUPERVISION
Aspartofyoursupervised release,youmustcomplyw'iththefollbFing standard'conditionsofsuperyision. Thesecônditionsareimpoked
becausetheyejtablishtheb,asiç'expectationsforyourbehavior'
                                                         w hileon supervisionand.identify th:minimum toolsneededbyprobation
officerstokeepinform ed,reporttothecourtabout,andbringaboutimprovem entsinyourconduotandcondition.
      Youmustrèyorttotheprobatiopofficerinthqfederaljudicialdistrictwhereyouareauthorizedtoresidewithin72 hoursofyour
      releasefrom lmprisoùment,unlesjtheprobatlon'
                                                 dfficerlnstructsyoutoreporttoadifferentprobationofficeçrwithin a differepttim e
      fràme..         '                                                                      .
      Afterinitiallyreportingtotheprobation'office,youw illreckiveinstfuctionsfrom thecourtortheprobationofficerabouthow énd
      whenyoufnustreporttp'theprobationofficef,andyou mustreporttotheprobationofficerasinstnlcted.
      YoumustnotknoWinglyleavethefedeialjudicialdistrictwhereyouareauthorizedtoresidewithoutfirstgettingpermissionfrom the
      court'ortheprobationofficer.
      You mustanswertruthfully thequestions'askedbyyourprobationofficer,
      Youmustliveatajlaceapprovedliytheprobationofficer.lfyoujlantochangewhereyouliveoranythingabout#ourliving
      an'angements(suchasthe'peopleyoulivewith),youmustnotifytheprobationofficeratIeast10'daysbeforethechange.Ifnotifying
      theprobationofficerinadvanceisnotpossibleduetounanticipateèc'
                                                                  lrcumstances,youmustnotifytheprobationoffkerwithin72
      hoursofbecomingawareofachangeorexgectedchange.
      Youmustallow theprobation officertovisltyouatany timeatyourhomeorelsewhere,andyoumustpermittheprobationoffiçerto
      takeanyitepsprohibitedbytheconditionsofyoursupervisionthatheorsheobservesinplain view.
7.    Youmpstworkfulltfme(atleast3
                                 .0hpursperwebk)ata.léwfultypeofemployment,unlesstheprobationofficerexcusesyou9om
                        . .a
      dpingso.Ifyoudonpth  vçfptl-timr.çl
                                        pployl
                                             peptyopnpjttly tofindfull-timeemployment,unlessthryrobgtionofficereycuses
      youfrom doingso.Iffou'planidchangqwhçreyouworkoranythinjabouty
                                                                   'ourwork(suchasyourpositlonorfouijbb'
      rppqnsibilities),youmustnotify theprpbgtionofficer.
                                                        atleast10 daysbeforethechange.lfnotifyingthepfobationofficeratleasi10
      daysinadyanceis.ngtpossible'duetotlnantici
                                               patedcircumstances,youmustnotifytheprobationofscerwithin 72hoursof
      becom ingawareofachangeèrexpeçted change.
      Youmustnotcommunicateorinieract'withjomèùneyôu know is. erigagedin criminalactivity. lfyouknow someonehasbten
      convictedofafelony,#oumusfnotknowingly commtlnicateorinteractwiththatpersonwithoutfirstgettirfgthepermission ofthe
    probation officer.
9. lfyou.arearrested orquestionedbyaIaw enforcementofficer,youmtistnotifytheplpbationofficerwithin72hpurs.
10. Youmustnotown,possess,orhaveaccesstoafirearm,ammuniti    on,destructlvedevlce,ordangerousweapon(l.e.,anythingtlzatwas
      dtqigned,orwasmodifiedfor,thespecificgurposeofcausingbodilyinjuryordeathtoanoth.erpersonsuchasnunchakusortasers).
ll. You m ustnotactorm ake'any agreem entwlth a lal enforcem entagency to actasaconfidentialhum an'sourceorinfonnantwithout
    firstgetting thepenmijsion ofthe court.                                                              ''
12. Iftheprobationoffi cerdeterntinesthatyouposearisktoanotherperson(includinganorganization),theprobationofficermay
    requireyoutonotifythepersonabouttheriskandyoumustcomplywith thatinstruction.'Theprobationofficermaycontactthe
    personand cqnfirm thatyouhayenotitiedthepersonabouttherisk.
13. Youmustfollow theinstructionsoftheprbbationofficerrelatediotheconditionsofsupervision.



U.S.Probation OfflceUse0 nIy          .



                                 .e
A U .S.probationofficçrhasinstruct d me
                                      'ontheconditionsspecifiedbythecourfandhasprovidedmewith awrittencopyofthis
judgmentcontainingthiseconditions.Forfuqherinfonnationregardingtheseconditions,seeOvervfcw ofprobationandsupervised
Release'Conditions,uvailableat:(
                               lll
                                 ylqtlaj
                                       .s
                                        rol/r/x.aqxr                '                '

Defendant'sSignature'
              Case 2:19-cr-00005-JPJ-PMS Document 77 Filed 02/12/20 Page 6 of 8 Pageid#: 307
     AO2458     (Rev.09/19-VAW Additions05/17)JudgmentinaCriminalCale
                Sheet317-Su'pewisedRelease                              '
                         '
                         .                                                                     Judgment-page   6      of      8
     D EFEN DAN T:   M ITCHELL N ORBERT M CHOLA S
     CASE NU M BER :DVAW 219CR000005-001
                                         SPECIAL COO ITIONS OF SUPERW SIOX
    W hileon supew isedrelease,thedefendant:                                               '

    (1)Mustpayanymoneta!ypenaltythptisimposedbythisjudgmentinthemannerdirectedbythecourt;
    (2)M ustresidein aresidcncefreeoffirearms,ammunition,destructivedevices,anddangerousweapons;and
    (3)Mustsubmithispcrson,property,hottse,residence,kehicle,papers,Ecomputersasdefinedirï18U.S.C.Section1030(e)(1),othe?
    electroniccommunicationsordatastoiage'
                                         divicesormedia),oroffice,toasearchconductedbyaUnitedStatesprobationoffcer.Failureto
    submittoasearchmaybegroundsforrevocationofrelease.Thedefendantshallwarnanyotheroccupantsthatthepremisesmaybesubject
.   tbsearchespursuanttothiscondition.Anùfficermay conductasearchpursuanttothiscondition onlywhenreasonablesuspicionexiststhat
    thedefendanthàsviolated acondition ofhissupervislon andthattheareasto besearchedcontainevidenceofthisviolation.        ... ,
             Case 2:19-cr-00005-JPJ-PMS Document z77
                                                  '
                                                     ! Filed 02/12/20 Page 7 of 8 Pageid#: 308
                                                  )                          j'E
                                                                               .
    A02458   (Rev..
                  09/19-VAW Additions05/17)Judgmènti
                                                   naCrimi
                                                         nalCase                       '
             Sheet5-CriminalLlonetaryPenâlties .
             '                                         ' '                    '    .
                                                                                           .                     .   .

                                     '                                                                 '
.                  .   .         .                                       .                                       Judgnigmpage    . 7      of      g
    DEFENDANT:             M ITCHELL KORBERT NICHULAS
    CASZ NUNIBER:DVAW 219CR000005-ù01
                                 CRIM INAL M ONETM W PEN ALTIES
        Thedefendantmustpaythetötaiçrim inalm onetary penaltiesundertheschrduleofpaymehtsonSheet6.

                Assessm ent                  Reàtitution               Fine                            ?kSJJK?K ktssessnzellte        JVTA Assssm ent**'
    To'
      rAt,s $.400.00                     $                         $                               $                              $


'
    1-1 Thedetenninationofrestitutionisdeferreduntil              .AnAmendedludgmentinaCriminalCase(A0 245C)willbcentered
        aftersuchdetermination.                                                                .

    N Thedefendantm'
                   ustmakerestitution(includingcommunityrestitution)tothefollowingpayeesintheamountlisted'below.
        lfthidefendantmakesapartialpayment,each payeeshallreceivéanapproximately proportipnedjayment,unlessspecifiedotherwise
        in thepriority orderorpercent
                             .      agepaymentcolumrfbelow.However,pursuantto18U.S.C ' j366441),a11nonfederalvlctimsmustbe
        paid beforetheUnitedStatesispaid.
    Nam eofPayee                                           TotalLoss*e                     'Restitution Ordered                  Priority or Percenta'
                                                                                                                                                     ge




    TOTAEd

        Restitutibnapountorderedpursuanttopieaagreement$ .
    L . Thedefendantmqstpiw il
                             zterestonrestitutionandafineofmdrithan$2.500.unlesstherestitutionorfineispaidinfullbeforethe
         fifteenthilayafte!-thedateöfthejudgment,pursuanttolsU.S.
                                                                C.j3612(9.AllofthepaymehtoptionsonSheet6maybesubject
         topenaltiesfordelinquencyanddefpult,pursuantto l8U.S.C.j3612(g).                                      '

    EEI Thecourtdeterminedthatthedefendantdoesnothtwetheabilitytopayinterestanditisorderedthat:
        EEI theinterest'
                       rqquêrementiswaivedforthe EEI fine' E1 restitution.
                   '

        EEI:theintetestrequl
                           Jeme'ntforthe .IEI finc EEIrestitptionismodifiedasfollows:

     *Amy,Vicky,andAndyChildPorpbgraphyVictim AssistanceActot2018,Pub.L.No,115-299.
     **JusticeforVictim sofTraffickingActof2015,Pub.L.No.114-22.               .      .
     ***rindingsforthetotalamountoflossesatirequired'underChaptersl09A, 110,1IOA,@nd l13A ofTitle l8 fproffensescomm itted
     on orafterSeptem ber13,l994,bùtbeforeApril23,1996.
'
                                                                                                                                 .. .
                                                               v)         .&w I
                               Case 2:19-cr-00005-JPJ-PMS Document 77! .Filed
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                                           .                               .
                                                                              02/12/20 Page 8 of 8 Pageid#: 309                                                 .   .

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    AO 2458 (Ftev.t9/l9-VAW Additions05/17)JppgrqeiltinaCriminalUase                                                                                                          '
            Sheet6-SleditleofPayments. '            '
                                                    . '' '                                                                                                                   '..              .
                                                                                                                                                                                              '                     '
    DEFENDANT: MITCHELL$tORBERTNICHOLAS                                                                                                                                                                                             Judgment-Page 8 of 8
    CASENIJ
          -MBER:D#AW 219CR000û05-001                                                                                                                                                                                                        ''
                                                                                                       SCH ED U LE O F PAY M EN TS
                                                                         y.                       .
                                                    lcrim inalmonetarypenaltie:aredue.im medl
    Haking assessedthedefendantsabilitytopay,thetotp.                                       k
                                                                                            ptely4ndpayablçasfollow s:
    A ZX Lumpmlm paymentof$400.00             immediately,balancepayable
             EEI notIaterthan '
                  .. .          .
                                                   ,or '                 '                                                                                                            '


             (ZJ inaccordancewith I Z C; IZ D, I--lE, 1   -7 F or,r-1f;below);or
    B EEI Paymenttobeginimmediately(maybeçombinedpith I--IC, I  --ID,.F-lF,or F-1G below);or
    c.(q),Paymçntinequal . .              ..,@.g.,weeklyémonthlyfquallerly)installnwptsof$ . .                                                                                                                                                      overapçriodof
                       .
                             '         .(e'.g.?mbnthsoryegr
                                                       .  .s),tocommence . . ' 1. (e.g.,30,,pr.60dllyg)afterthrdate.ofthisjuégment;or                                                                       .


                           Paymentinequal' ': ' .. '' . @.j.,weel        cly,monthly,quarteyly)installmentsof$                 ovbraperiodof
                           .
                                        (e.g.,mohthsorye'
                                                   .     ars),tocommence                    (e.g.,3bor60days)afterreleasefrom imprisonmenttoa                       '
                           term ofsupervision:'or. '                                      .     .. , . .                            '                   .                .                    . .   .               '.       : .'

          I
          Z Paymentduringthetemlofiupmvisedreleasewillcommencewithin        .         (e.g.,30of60days)aftetrtrie
            imprisonment.Thecourywillsbtthepaymentplanbased on anassessmentofthedefendant'sabilitytopayattha'
                                                                                                                 leasefrom
                                                                                                                me;of
                                                                                                                                                :.                                                                                  .
    y H. burjpgtheterm pfimprijpllperg,paymeptiqçqual                                                                                                 '                       (e.g.;Feekly,monthlyy.quarterly)injtàllmr
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                                                 deféndant'sincome
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                                                                                                   zb''t
                                                                                                       .oc
                                                                                                         yomrpence               (e.g.,30 or                                                                                                                .

         ' ' 6,
              )dâ#s)afidfthçdbtéofthisjudjmént;AND pa-  ynieritinetuâl        '                  @.g.'   ,'
                                                                                                          *dek1#,monthly,plartefly)
             installpçntsof$ '         ''t
                                         . .dùring'theterm ofsupervisedrelease,tocommence                    '         .'(e.g.,30or60days)
          '                afterreleasefrom imprisohment.. . '                                                                                                                                                                          '       .
                                                              ;                                 7,
    G r-
       .I.Spécialinsttlctlonsregafdingthepaymentofçrinlinalmonetarypçnalties:
              .                                                                                             ..
                                                                                                        .                .




    Ankinstallmentscheduleshallnotnrecludeenforcement.
                                                     oftherestitutkonorfineorderby thcUnitedstatesunder18U.S.C jj36î3and                .                   .                     .                                      .

    36644n9.        ..., .. .                  .                                      . ,                         .
    Anyinstallmentscheduleissubjecttliadjlstmentbythedourtat!nytimeduringtheperiodUfimprlsonmdntorsupervision?anttthedefendant
    shallnotifytheprolvtionofficeranètheU.j.Attomeyofanychangeinthedefendant'
                                                                            secönomiccirdumstancesthatmayaffeçttàr
    defendaut'sabilitytopay.
    Al1criminalmonetarvpenaltiesshalibemadenavabletotheClerk.U.S.DistrictCourt,210FranklinRd.,Suite540,Roanoke,Virginia24011,
                                   '                                                                                                        '                       '    '                                           '       '
                                 . .   . ..                              '
    fbrdisbursement.       .      .
                                            . -
                                                   .     .
                                                                                                    .     ..
                                                                                                                                                                                                                                                            '   '
    The,defendantshall'reciivecreditfora1lpaymentspreviouslymadefowardan#'iriminalmonet@rypenaltiesimposed.                                                                                                     .


    Xnyèbligationtopayrestitktioni'
                                  sjpilitànd.
                                            jçveral'
                                                   withotherdefendants,ifany,againstFizom anprderbfiestitutiùnhasbeenorwiilbe
    entered;                   . .                                                .
                                                                                                                                                                                                                         '



    '
         N''Jointandv
                  '
                    several.   .               .
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                      Defrndàntan1Co-Defenda JntNarize!l
                                             '          p.
                                                         d.     .mbers(.
                                                           CaseNu      indudingdefen.dailtnumber),TbtalAmo
                                                                                                   .
                                                                                                         .unt.
                                                                                                             ,JointandSeveralvAmount,and
          '       '
                        t
                        iï    din ' a
                      co espon g p ,.yee'if
                                          .rpppp rl
                                                  at e. ''. '                  '            '  '      .                  ,.., .
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     '

         ED
          .Thedefendaktshallpaythecostofproseéution.
         EIIThedefçndantshallpaythefollowingcourtcostls):
         Z Thedefendantshallforfeitthedefepdapt'sinterestipthefollpwingpropçrtytptheUnitçdS
                                                                                          ,tqtqs:,


         Pavmehtsshallbeapnliedinthefollowinaörder:(1)assessment.(2)restituiionprincipal.(3)restitutioninterest,(4)AV.XA assessment,
     .   (5)fineprincipal;(6)fineintere
                                      'st,(7)communityrestitution,(8)JVTA assessment,(9)penalties,and.(10)cpsts,includingcostof
                                                       .                 '                                       .           ,                                                .                                                             .
    ''.Prosecution and coul'
                           tcosts.                                                         '                                                                                              '                                  '
